     Case 4:16-cv-00229-DCB          Document 99   Filed 06/17/19    Page 1 of 1



 1
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Anthony Eric Emerson,                          NO. CV-16-00229-TUC-DCB
10                 Plaintiff,
                                                   JUDGMENT OF DISMISSAL IN A
11   v.
                                                   CIVIL CASE
12   Corizon Incorporated, et al.,
13                 Defendants.
14
15          Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17          IT IS ORDERED AND ADJUDGED that pursuant to the Court’s order filed
18   June 17, 2019, Plaintiff to take nothing, and the complaint and action are dismissed
19   without prejudice.
20                                            Brian D. Karth
                                              District Court Executive/Clerk of Court
21
22   June 17, 2019
                                              s/ BRuiz
23                                       By   Deputy Clerk
24
25
26
27
28
